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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

   NEVILLE MCFARLANE, DEANNA
   COTTRELL, EDWARD HELLYER,
   CARRIE MASON-DRAFFEN, HASEEB
   RAJA, RONNIE GILL, JOHN
   FRONTERA, SHARIQ MEHFOOZ, and
   STEVEN PANICCIA, individually and
   on behalf of all others similarly situated,
                                                    Lead Case No. 20-CV-1297-JMF
                         Plaintiffs,                (consolidated with 20-CV-1410-JMF)

      v.

   ALTICE USA, INC., a New York
   Corporation,

                         Defendant.


                              ORDER FOR FINAL JUDGMENT


       THIS CAUSE is before the Court on Plaintiffs’ Uncontested Motion for Final Approval

of Class Action Settlement and Motion for Award of Attorneys’ Fees, Costs, Expenses, and Service

Awards to Class Representatives. Due and adequate notice having been given to the Settlement

Class, and the Court having considered the Settlement Agreement, all papers filed and proceedings

had herein, and all oral and written comments received regarding the proposed settlement, and

having reviewed the record in this litigation, and good cause appearing, IT IS HEREBY

ORDERED AND ADJUDGED AS FOLLOWS:

       1.      For purposes of this Final Judgment and Order of Dismissal (“Judgment”), the

Court adopts all defined terms as set forth in the Settlement Agreement filed in this case.

       2.      The Court has jurisdiction over the subject matter of the litigation, Plaintiffs Neville

McFarlane, DeAnna Cottrell, Edward Hellyer, Carrie Mason-Draffen, Haseeb Raja, Ronnie Gill,
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John Frontera, Shariq Mehfooz, and Steven Paniccia, the Settlement Class Members, and the

Defendant, Altice USA, Inc., (collectively the “Settling Parties”). See ECF No. 93.

       3.      With respect to the Settlement Class and for purposes of approving this Settlement

only, this Court finds as to the Settlement Class that:

               a.      the Class is so numerous that joinder of all members is impracticable;

               b.      there are questions of law or fact common to the Class;

               c.      the claims of Plaintiffs are typical of the claims of the Class;

               d.      Plaintiffs will fairly and adequately protect the interests of the Class;

               e.      questions of law and fact common to class members predominate over any

                       questions affecting only individual Class Members; and,

               f.      a class action is superior to other available methods for fairly and efficiently

                       adjudicating the controversy.

       4.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for purposes of,

and solely in connection with, the Settlement, the Court certifies this action as a class action on

behalf of the following Settlement Class:

               All current and former employees of Altice USA, Inc. and its
               subsidiaries or predecessor companies Cablevision and Suddenlink
               in the United States and its Territories who received a Notification
               Letter stating that their PII may have been compromised during the
               Data Security Incident.

       5.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for the purposes

of the Settlement only, Plaintiffs are certified as the Class Representatives, and William B.

Federman and A. Brooke Murphy from Federman & Sherwood are certified as Class Counsel.

       6.      The Parties have complied fully with the notice provisions of the Class Action

Fairness Act of 2005, 28 U.S.C. § 1715.




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         7.    Based on evidence and other material submitted in conjunction with the Final

Approval Hearing, the Court hereby finds and concludes that (1) the Postcard Notice to be sent by

physical mail were disseminated to members of the Settlement Class in accordance with the

Settlement Agreement and the Court’s Preliminary Approval Order, and (2) the Detailed Notice,

the Claim Forms, and the Settlement Website complied with this Court’s Preliminary Approval

Order.

         8.    The Court finds and concludes that the Postcard Notice, Detailed Notice, the Claim

Forms, the Settlement Website, and all other aspects of the Notice Program, opt-out, and claims

submission procedures set forth in the Settlement Agreement fully satisfied Rule 23 of the Federal

Rules of Civil Procedure and the requirements of due process, were the best notice practicable

under the circumstances, and support the Court’s exercise of jurisdiction over the Settlement Class.

         9.    In accordance with Federal Rule of Civil Procedure 23, excluded from the

Settlement Class are the following persons who timely and validly requested exclusion pursuant

to the procedures established by the Settlement Agreement and this Court: Philip Michael

D’Abbraccio, Axel Rivas Vicioso, Stephen E. O’Rourke, Sylvia L. Ortega, and Sherry Odorizzi..

These Persons will not be bound by the terms of the Settlement Agreement.

         10.   The Court finds that the Settlement Agreement is the product of arm’s length

settlement negotiations between the Settling Parties.

         11.   The Court finds and concludes that the Settlement is fair, reasonable, and adequate

and should be approved.

         12.   The Court hereby approves the Settlement (as set forth in the Settlement

Agreement), the releases of the Released Claims, and all other terms in the Settlement Agreement,

as fair, just, reasonable and adequate as to the Settling Parties. The Parties are directed to perform




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in accordance with the terms set forth in the Settlement Agreement. However, without seeking

further Court approval, the Settling Parties may jointly agree to make changes to the Settlement

Agreement, including to the manner in which the claims process shall be administered, provided

that those changes do not reduce the benefits to which Settlement Class Members may be entitled,

increase the burden on Settlement Class Members in making a Claim, or otherwise materially alter

the Settling Parties’ obligations under the Settlement and the Settlement Agreement.

       13.     By this Judgment, the Releasing Parties shall be deemed to have (and by operation

of the Judgment shall have) fully, finally, and forever released, relinquished, and discharged all

Released Claims against the Released Parties.

       14.     This action is dismissed with prejudice. The Settling Parties are to bear their own

attorneys’ fees and costs, except as otherwise expressly provided in the Settlement Agreement and

in this Judgment.

       15.     Neither the Settlement Agreement, nor any act performed or document executed

pursuant to or in furtherance of the Settlement: (i) is or may be deemed to be or may be used as an

admission of, or evidence of, the validity of any Released Claim, or of any wrongdoing or liability

of the Released Parties; or (ii) is or may be deemed to be or may be used as an admission of, or

evidence of, any fault or omission of the Released Parties in any civil, criminal or administrative

proceeding in any court, administrative agency or other tribunal. The Released Parties may file

the Settlement Agreement and/or the Judgment from this litigation in any other action that may be

brought against them in order to support a defense or counterclaim based on principles of res

judicata, collateral estoppel, release, good faith settlement, judgment bar or reduction, or any

theory of claim preclusion or issue preclusion or similar defense or counterclaim.




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        16.     If for any reason the Effective Date does not occur, then (1) the certification of the

Settlement Class shall be deemed vacated, (2) the certification of the Settlement Class for

settlement purposes shall not be considered as a factor in connection with any subsequent class

certification issues, and (3) the Settling Parties shall return to the status quo ante in the litigation

as it existed on April 27, 2022, without prejudice to the right of any of the Settling Parties to assert

any right or position that could have been asserted if the Settlement had never been reached or

proposed to the Court.

        17.     Upon consideration of Plaintiffs’ Motion for Award of Attorneys’ Fees and Costs,

the Motion is GRANTED. Consistent with Section III.G of the Settlement Agreement, Defendant

shall pay Class Counsel a $550,000 in attorneys’ fees and litigation expenses, consistent with the

terms of the Settlement Agreement. Per the Settlement Agreement, this award shall be paid

separately and exclusively by Altice and shall not in any way reduce the benefits made available

to Settlement Class Members. In making this award, the Court has considered and found that:

                a.       The Notice Program advised that Class Counsel would seek an award of

                         attorneys’ fees and litigation expenses of no more than $550,000, which, if

                         approved by the Court, Defendant agreed to pay separately;

                b.       This action involves complex factual and legal issues, was actively

                         prosecuted, and, in the absence of the Settlement, would involve further

                         lengthy proceedings with uncertain resolution of the complex factual and

                         legal issues;

                c.       William B. Federman and A. Brooke Murphy of Federman & Sherwood

                         skillfully and zealously pursued this action on behalf of the Class

                         Representatives and the Class;




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               d.      The hourly rates charged by Class Counsel are reasonable;

               e.      Had Class Counsel not achieved the Settlement, there would remain a

                       significant risk that the Class Representatives and the Class would recover

                       less or nothing from Defendant; and

               f.      The amount of attorneys’ fees awarded here is consistent with awards in

                       similar cases.

       18.     Upon consideration of Plaintiffs’ Motion for Service Awards to Class

Representatives, the request is GRANTED. Consistent with the terms of Section III.F of the

Settlement Agreement, Defendant shall pay Plaintiffs Service Awards in the amount of $2,750

each. Per the Settlement Agreement, these Service Awards shall be in addition to the other benefits

provided by the Settlement to Settlement Class Members and shall be paid separately by Altice

and will not reduce Settlement benefits to Settlement Class Members.

       19.     Each and every Settlement Class Member, Releasing Party, and any Person actually

or purportedly acting on behalf of any Settlement Class Member or Releasing Party, is hereby

permanently barred and enjoined from commencing, instituting, continuing, pursuing,

maintaining, prosecuting, or enforcing any Released Claims (including, without limitation, in any

individual, class or putative class, representative, or other action or proceeding), directly or

indirectly, in any judicial, administrative, arbitral, or other forum, against the Released Parties.

This permanent bar and injunction is necessary to protect and effectuate the Settlement Agreement,

this Final Judgment, and this Court’s authority to effectuate the Settlement Agreement, and is

ordered in aid of this Court’s jurisdiction and to protect its judgments.

       20.     This document is a final, appealable order, and shall constitute a judgment for

purposes of Rules 54 and 58 of the Federal Rules of Civil Procedure. By incorporating the




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Settlement Agreement’s terms herein, the Court determines that this Final Judgment complies in

all respect with Federal Rule of Civil Procedure 65(d)(1).

       21.     The Court reserves jurisdiction, without affecting in any way the finality of this

Order and Judgment, over (a) the implementation and enforcement of this Settlement; (b)

enforcing and administering this Order and Judgment; (c) enforcing and administering the

Settlement Agreement, including any releases executed in connection therewith; and (d) other

matters related or ancillary to the foregoing.

       22.     There is no just reason for delay in the entry of this Order and Judgment and

immediate entry by the Clerk of the Court is expressly directed. The Clerk of Court is further

directed to terminate ECF Nos. 95 and 96 and to close the case.


       IT IS ORDERED.


Dated: October 7, 2022
       New York, New York
                                                             Hon. Jesse M. Furman
                                                             United States District Judge




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